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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Case No. 23-CR-452-2 (ABJ)
v.
JUWON ANDERSON,
Defendant.

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

I. Penalties
The penalties for Conspiracy to Commit Firearms Trafficking, in violation, of Title 18,
United States Code, § 933(a)(1),(3) are:
(A) A term of imprisonment not more than 15 years;
(B) A fine not to exceed $250,000;
(C) A term of supervised release of not more than three years; and

(D) A special assessment of $100.
U. Elemen he Offense

To prove that the defendant is guilty of Conspiracy to Commit Firearms Trafficking, the
government must prove the following beyond a reasonable doubt:

(A) That the defendant and at least one other person agreed to try to accomplish a
common and unlawful plan, as charged in the indictment, namely trafficking in
firearms;

(B) That the defendant knew the unlawful purpose of the agreement and joined in it
willfully, that is, with the intent to further the unlawful purpose.

Trafficking in firearm occurs when someone knowingly ships, transports, transfers, causes to be
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transported or disposes of a firearm to another person in or otherwise affecting interstate or foreign

commerce knowing or having reasonable cause to believe that receipt of the firearm by the other person

will constitute a felony.

Il. Proffer of Evidence

On or about December 13, 2023, Defendant Juwon Anderson and his co-conspirators
conspired and agreed to break into and steal firearms from the A & D Pawn Shop in Maryland,
and then traffic in those stolen firearms. A & D Pawn Shop is an entity licensed to engage in the
business of importing, manufacturing, and dealing in firearms.

Around 3:30 A.M. on December 13, 2023, the defendant and at least four co-conspirators
drove from Washington, D.C. to the A & D Pawn Shop in Maryland in two vehicles. Once at the
A & D Pawn Shop, one of the co-conspirators used a portable saw to cut the locks on a pull-down
security gate covering the entrance to the A & D Pawn Shop. Another co-conspirator then used a
crowbar-type tool to pry open the main door to the A & D Pawn Shop. After breaking into the A
& D Pawn Shop, the defendant and four other co-conspirators then entered the store, grabbed
firearms from the store’s shelves and display racks, and left the store with the firearms. In total,
the defendant and his co-conspirators stole at least 34 firearms from the A & D Pawn Shop. At
least two of those firearms were semiautomatic firearms with a magazine attached to it that could

accept more than 15 rounds of ammunition.

After stealing the firearms, the defendant and his co-conspirators then left in two vehicles
with the 34 stolen firearms and transported the firearms to Washington, D.C. Three co-conspirators

left in a stolen red Hyundai Sonata with several of the stolen firearms. The defendant left in a

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different vehicle. While driving back to Washington, D.C., the red Hyundai Sonata crashed on I-
295 while heading southbound on Kenilworth Avenue, NE, in Washington, DC. After the crash,
the co-conspirators in the red Hyundai fled with some of the stolen firearms; however, the
following eight stolen firearms were left in the crashed vehicle and later recovered by law

enforcement:

Hammerli, model TAC R1, .22 LR caliber rifle;

Mossberg, model 590 Nightstick, 12-Gauge shotgun;
Kel-Tec, model SU22, .22 LR caliber rifle;

Smith & Wesson, model M&P 15, .22 LR caliber rifle;

Smith & Wesson. model M&P 22 Compact, .22 caliber pistol;
Mossberg, model 590, 12-Gauge shotgun;

H&K, model 416, .22 LR caliber rifle; and

Kahr Arms, model CT9, 9mm caliber pistol.

Two of those firearms, the Kel-Tec, model SU22, .22 LR caliber rifle and the Smith & Wesson, model

M&P 15, .22 LR caliber rifle, each had a 25-round capacity magazine attached.

Inside the crashed vehicle, law enforcement also found a co-conspirator’s cell phone with an
open GPS route displayed, showing a destination address that matched the co-conspirator’s
apartment building. The most recent GPS destination before the co-conspirator’s address was the
address for the A & D Pawn Shop. Although the defendant was not in the red Hyundai at the time
of the crash, DNA testing later connected the defendant to the rear passenger compartment of the
red Hyundai.

After the burglary of the A & D Pawn Shop, the defendant and his co-conspirators
conspired to traffic the firearms stolen from the A & D Pawn Shop. The defendant agreed with his
co-conspirators to knowingly ship, transport, or transfer two or more firearms to other persons,

including other co-conspirators, knowing or having reasonable cause to believe that the use,
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carrying, or possession of the firearms by the recipients would constitute a felony. The defendant
also knew that the recipients of these firearms would dispose of the firearms unlawfully, because
the defendant knew that recipients, including co-conspirators, would knowingly sell stolen firearms
that have been transported in interstate commerce. The defendant also knew or had reasonable
cause to believe that an individual who was under a criminal justice sentence at the time of the
offense would receive firearms as a result of the conspiracy, because a co-conspirator who received
two or more firearms was under a criminal justice sentence at the time of the offense, was wearing
an ankle monitor during the offense, and had covered the ankle monitor with aluminum foil during
the offense.

In addition, and as part of the firearms trafficking conspiracy, the defendant and his co-
conspirators used social media to advertise the sale of the stolen firearms. In particular, the
defendant sent photographs of at least four of the stolen firearms to a social media user on the day
of the burglary. Additionally, a co-conspirator messaged the defendant through social media on the
day after the burglary to try to obtain for an associate a firearm stolen during the theft. The
defendant’s associate also sent messages to multiple social media users to let them know that “we
got shit onna market,” referring to the stolen firearms.

Two days after the burglary, on December 15, 2023, the defendant was arrested with two of
the stolen firearms: a Ruger, model 57, .57 caliber pistol, with an obliterated serial number, and a
Kel-Tec, model sub-2000, 9mm rifle. The defendant’s DNA was also found on the Ruger pistol.
Another co-conspirator was arrested the same day with was arrested with one of the stolen firearms,
a Smith & Wesson. On December 28, 2023, pursuant to a search warrant, law enforcement
recovered four of the stolen firearms from individuals who were not involved in the burglary. On

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August 20, 2024, law enforcement recovered an additional stolen firearm when they arrested an
individual who was in possession of one of the stolen firearms. To date, eighteen firearms still
remain missing.

The defendant is not aware of any information that contradicts the indictment in this case.

Respectfully Submitted,

/s/ Shehzad Akhtar
Shehzad Akhtar
Assistant United States Attorney

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DEFENDANT EPT 2E

I have read this Statement of Offense and carefully reviewed every part of it with my
attorney, Dwight Crawley, Esq. I am fully satisfied with the legal services provided by my attorney
in connection with this Statement of Offense and all matters relating to it. 1 fully understand this
Statement of Offense and voluntarily agree to it. No threats have been made to me, nor am I under
the influence of anything that could impede my ability to fully understand this Statement of Offense.
No agreements, promises, understandings, or representations have been made with, to, or for me
other than those set forth above.

Date: 2/2 4/25 bss
Juwon Anderson
Defendant

ATTORNEY'S ACKNOWLEDGMENT

[have read this Proffer of Facts and carefully reviewed it with my client and discussed it
fully. I do not object to my client’s agreement with and acceptance of this Proffer of Facts.

Date: 2 21/; 2725)

Dwight Crawley, Esq.
Attorney for Juwon Anderson
